221 F.2d 792
    JOW CHU YUN, on Behalf of Jow Mun Yow, Appellant,v.Bruce G. BARBER, District Director, Immigration andNaturalization Service, Appellee.JOW CHU YUN, on Behalf of Jow Kwong Yeong, Appellant,v.Bruce G. BARBER, District Director, Immigration andNaturalization Service, Appellee.
    Nos. 14503, 14504.
    United States Court of Appeals Ninth Circuit.
    April 15, 1955.
    
      Bertram H. Ross, Los Angeles, Cal., for appellant.
      Lloyd H. Burke, U.S. Atty., Charles Elmer Collett, Asst. U.S. Atty., San Francisco, Cal., for appellee.
      Before POPE and FEE, Circuit Judges, and JAMES M. CARTER, District judge.
      PER CURIAM.
    
    
      1
      These are exclusion cases presented on a consolidated appeal.  Jow Chu Yun, the petitioner, is a citizen of the United States.  On May 23, 1954, after exhausting all administrative remedies, he petitioned in the district court, pursuant to 8 U.S.C.A. § 1503 (c) for writs of habeas corpus in behalf of his two alleged sons, Jow Mun Yow, hereafter Yow, and Jow Kwong Yeong, hereafter Yeong, then in the custody of appellee.
    
    
      2
      The trial court conducted a hearing and had before it the proceedings before the Board of Special Inquiry and the Board of Immigration Appeals.  It discharged the writs and dismissed the petitions.
    
    
      3
      The judgment as to Yow is affirmed.
    
    
      4
      As to Yeong, parts of the record below, including the petition for the writ were not made part of the record on appeal.  In appellant's statement of points on appeal, no mention is made of Yeong.  The appeal as to Yeong is dismissed.
    
    